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                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                                CIVIL MINUTE ORDER

 Case No.: 18-cv-01044-HSG                Case Name: TechShop, Inc. v. Rasure
 Chief Magistrate Judge:                  Date: October 12, 2018      Time: 21 minutes
 JOSEPH C. SPERO

Attorney for Plaintiff: James Pistorino
Attorney for Defendant: Ann Draper

 Deputy Clerk: Theresa Hoang                          Court Reporter: FTR 3:16-3:37


                                        PROCEEDINGS

1. Discovery Hearing - Held


                                           SUMMARY

Motion for sanctions is granted in part and denied in part. The Court awards to the Plaintiff
attorney’s fees and costs incurred by the Plaintiff in preparing the motion to compel filed on
9/4/2018 and incurred since that date with respect to this discovery dispute through today. All
pending productions of documents pursuant to the Court’s previous order shall be completed
without fail by the Defendants on or before 10/22/2018.
